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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                  Southern District
                                                   __________       of New
                                                                District    York
                                                                         of __________

                     ROMAN PAREDES                                   )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 1:24-cv-00396
                                                                     )
RYER PARKING LLC, ARTURO BUENO, and JUAN                             )
               ALMANZAR                                              )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) RYER PARKING LLC
                                           2346 Ryer Ave, Bronx, NY 10458

                                           ARTURO BUENO
                                           2346 Ryer Ave, Bronx, NY 10458

                                           JUAN ALMANZAR
                                           2346 Ryer Ave, Bronx, NY 10458

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Eyal Dror, TRIEF & OLK, 750 Third Avenue, Ste. 2902, New York, NY 10017
                                           Tel: (212) 486-6060, Email: edror@triefandolk.com




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:             1/19/2024                                                            /s/ P. Canales

                                                                                          Signature of Clerk or Deputy Clerk
